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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND

  ALLEN HANSON,

         Plaintiff,
                                                      Case No.: 1:17-cv-00598-WES-PAS
  v.

  RHODE ISLAND DEPARTMENT OF
  CORRECTIONS; PATRICIA A. COYNE-
  FAGUE, in her capacity as Director of the
  Rhode Island Department of Corrections; and
  Officer Panerello
  _______________________________________

                                   AMENDED COMPLAINT

        NOW COMES PLAINTIFF, Allen Hanson, through his attorneys, and for his Complaint

 against the above-listed Defendants, states as follows:

                                             PARTIES

                1.    Plaintiff is an individual who at all times relevant was an inmate at the

 Rhode Island Department of Corrections Intake Service Center.

                2.    Defendant Rhode Island Department of Corrections (“RIDOC”) is part of

 the executive branch of state government created by the General Assembly pursuant to Rhode

 Island General Law § 42-56-1. As part of the executive branch of state government, the RIDOC

 is subject to tort liability pursuant to Rhode Island General Law § 9-31-1.

                3.    Patricia A. Coyne-Fague (“Coyne-Fague”) is an individual and the acting

 director of the RIDOC. As the acting director of the RIDOC, Coyne-Fague is responsible for all

 functions, services, and duties of the RIDOC pursuant to Rhode Island General Law § 42-56-4.

                4.    Officer Panerello (“Panerello”) is an individual who at all times relevant

 was employed by the RIDOC as a correctional officer.
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                                   JURISDICTION AND VENUE

                 5.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and

 42 U.S.C. § 1983 given that this is a civil action alleging violations of the Eight Amendment of

 the United States Constitution.

                 6.      This Court has supplemental jurisdiction over all state law claims asserted

 herein pursuant to 28 U.S.C. § 1367.

                 7.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 given that the

 acts and/or omissions given rise to these claims occurred within the State of Rhode Island and

 the Defendants are located within the State of Rhode Island.

                                    GENERAL ALLEGATIONS

                 8.      Plaintiff incorporates all prior and subsequent allegations in this Complaint

 as if fully set forth herein.

                 9.      On or about May 21, 2017, Plaintiff was charged with first-degree murder

 and ordered held without bail. He was initially placed in a restrictive housing unit for 24 hours

 before being transferred to the general population.

                 10.     On Plaintiff exited the cafeteria and was physically and verbally attacked

 by Officer Panerello.

                 11.     Officer Panerello kicked Plaintiff’s legs and ankles causing Plaintiff to

 suffer immediate physical pain and injury.

                 12.     The attack by Officer Panerello was unnecessary, without cause, and

 intended for the sole purpose of causing physical and mental harm to Plaintiff.
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                13.   Immediately following the attack by Officer Panerello, Plaintiff was

 booked and placed in disciplinary confinement for a period of 20-days. Exhibit A: Inmate

 Discipline History Report.

                14.   Upon being placed in disciplinary confinement Plaintiff suffered a mental

 breakdown and placed on suicide watch in a unit referred to as “CMS.”

                15.   While in the CMS unit, Plaintiff was denied basic essentials such as toilet

 paper, a tooth brush, soap, shoes, showers, and utensils.

                16.   The conditions of Plaintiff’s confinement in the CMS unit were deplorable

 and the walls and floor was covered with feces and urine.

                17.   Plaintiff was forced to stay inside of his chamber in the CMS unit except to

 meet with the prison psychologist and thus tolerate the deplorable conditions that existed.

                18.   For months Plaintiff was unable to secure the form required to file a

 grievance.

                19.   Plaintiff filed a filed a grievance based on the decision to place him in

 disciplinary confinement and filed a complaint against Officer Panerello.

                20.   Plaintiff’s grievance was denied and his complaint against Officer

 Panerello was subsequently ignored.

                21.   Plaintiff filed a Level 2 Grievance pursuant to the RIDOC’s policies and

 procedures pertaining to Inmate Grievances.

                22.   Plaintiff’s Level 2 Grievance was never heard despite having filed the

 grievance in accordance with policy and procedure.
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                23.    On or about September 22, 2017, Plaintiff was booked and placed in

 disciplinary confinement for a period of 20-days for damaging law books belonging to the

 RIDOC. Exhibit A: Inmate Discipline History Report.

                24.    After receiving notice of the infraction, Plaintiff challenged the infraction

 using the RIDOC’s grievance procedure.

                25.    On or about October 4, 2017, the RIDOC issued a restitution order to

 Plaintiff alleging that the damage to the law books totaled $1,072.60. Exhibit B: Restitution

 Order.

                26.    Plaintiff challenged the Restitution Order within the time period as set forth

 in the Restitution Order.

                27.    Despite challenging the Restitution Order within the time frame specified, a

 copy of the Restitution Order was sent to Inmate Accounts and Plaintiff’s account was debited

 $1,072.60.

                28.    After a hearing conducted on or about November 21, 2017, Plaintiff was

 charged with assault on an inmate with serious injury resulting. The hearing on that charge was

 conducted by a single hearing officer and the sanctions imposed were 150 days of disciplinary

 confinement and loss of good time.

          COUNT I: VIOLATION OF THE 8TH AMENDMENT’S PROHIBITION
                  AGAINST CRUEL AND UNUSUAL PUNISHMENT

                29.     Plaintiff incorporates all prior and subsequent allegations in this

 Complaint as if fully set forth herein.

                30.     Plaintiff’s chamber in the CMS Unit was deplorable and the walls and

 floor were covered with urine and feces.
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                  31.    Plaintiff was denied basic essentials such as toilet paper, a tooth brush,

 soap, shoes, showers, and utensils.

                  32.    Defendants knew or should have known of the deplorable conditions in

 Plaintiff’s confinement and sought to remedy the situation.

                  33.    By denying Plaintiff toilet paper, a tooth brush, soap, shoes, access to the

 shower, and utensils, Defendant subjected Plaintiff to cruel and unusual punishment in violation

 of the Eighth Amendment.

                  34.    Plaintiff was sentenced to 150 days disciplinary confinement in violation

 of the Morris Rules established by the Consent Order entered by this Court in Morris v.

 Travisono, 310 F. Supp. 857 (D.R.I. 1970) (the “Morris Case”). Such confinement constitutes

 cruel and unusual punishment.

                  WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an

 Order declaring that Defendants violated Plaintiff’s right to be free from cruel and unusual

 punishment in violation of the Eighth Amendment, reinstate Plaintiffs’ good time, expunge the

 sentence of excessive disciplinary confinement from Plaintiff’s record, award compensatory

 damages, award punitive damages, award attorney fees and the cost of litigation pursuant to 42

 U.S.C. § 1983, and other relief that this Honorable Court deems appropriate based on the

 circumstances.

                             COUNT II: BREACH OF CONTRACT

                  35.    Plaintiff incorporates all prior and subsequent allegations in this

 Complaint as fully set forth herein.

                  36.    Plaintiff is a third party beneficiary of the Consent Decree entered in the

 Morris Case and of the Morris Rules established pursuant to that Consent Decree.
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                  37.    The Morris Rules require that the Department of Corrections Hearing

 Board consist of three members. Upon information and belief, the hearing on November 22,

 2017 that resulted in the imposition of 150 days’ disciplinary confinement of the Plaintiff was

 conducted by a single hearing officer in violation of the Morris Rules.

                  38.    The Morris Rules limit the amount of punitive segregation the

 Disciplinary Board can impose to thirty days.

                  39.    The Department of Corrections breached the Morris Rules and Consent

 Order by failing to conduct Plaintiff’s hearing before a Disciplinary Board consisting of three

 members.

                  40.    The Department of Corrections breached the Morris Rules and Consent

 Order by imposing a sanction of 150 days disciplinary confinement as Plaintiff’s punishment.

                  WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an

 Order declaring that Defendants breached the Consent Decree and the Morris Rules, reinstate

 Plaintiffs’ good time, expunge the illegal sentence from Plaintiff’s record, award compensatory

 damages, award punitive damages, award attorney fees and the cost of litigation pursuant to 42

 U.S.C. § 1983, and other relief that this Honorable Court deems appropriate based on the

 circumstances.

                                        COUNT III: ASSAULT

                  41.    Plaintiff incorporates all prior and subsequent allegations in this

 Complaint as fully set forth herein.

                  42.    When Plaintiff exited the cafeteria, he was thrown against a wall and his

 legs and ankles were kicked by Officer Panerello and Officer Panerello verbally abused Plaintiff.
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                43.     The attack on Plaintiff by Officer Panerello caused Plaintiff to suffer

 immediate physical and mental pain and injury.

                44.     The attack by Officer Panerello was unnecessary, without cause, and was

 intended for the sole purpose of causing physical and mental harm to Plaintiff.

                WHEREFORE, Plaintiff respectfully requests that this Honorable Court award

 Plaintiff compensatory damages, punitive damages, attorney fees, and other relief that this

 Honorable Court deems appropriate based on the circumstances.

                                    COUNT IV: CONVERSION

                45.     Plaintiff incorporates all prior and subsequent allegations in this

 Complaint as if fully set forth herein.

                46.     Defendants debited Plaintiff’s inmate account in the amount of $1,072.60

 for allegedly damaging law books belonging to the RIDOC.

                47.     Defendants debited Plaintiff’s inmate account despite the fact the Plaintiff

 followed the appropriate procedures for challenging the amount of the alleged damage to the law

 books.

                48.     By debiting Plaintiff’s account in the amount of $1,072.60, Defendants

 have deprived Plaintiff of his personal property and converted it to their own personal use for

 which they have no lawful claim.

                WHEREFORE, Plaintiff requests judgment against Defendants in the amount of actual

 damages suffered, together with punitive damages, interest, costs, attorney fees, and any other relief

 this Court deems appropriate under the circumstances.

                                           JURY DEMAND

          PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.
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                                                  Respectfully submitted,

                                                  Plaintiff,

                                                  By his attorneys,


                                                  /s/ Stacey P. Nakasian____________
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 Dated: December 10, 2020



                               CERTIFICATE OF SERVICE

        I certify that on December 10, 2020, I electronically filed the foregoing document(s)
 and that they are available for viewing and downloading from the Court’s CM/ECF system, and
 that all participants in the case are registered CM/ECF users and that service will be
 accomplished by the CM/ECF system.


                                                  /s/ Michelle Potts __________________
